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                                            IN THE UNITED STATES DISTRICT COURT
                                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                                     ROANOKE DIVISION

                      DANIEL NOTESTEIN, BLOCKTRADES
                      INTERNATIONAL, LTD., ANDREW
                      CHANEY, SZYMON LAPINSKI, ADAM
                      DODSON, ELMER LIN, DANIEL HENSLEY,
                      MICHAEL WOLF, MATHIEU GAGNON, and
                      MARTIN LEES,

                                                     Plaintiffs/Counter-
                                                     Defendants,

                              v.                                                  Civil Action No. 7:20CV00342
                      BITTREX, INC.,

                                                     Defendant/Counter-
                                                     Plaintiff
                      J. DOES, and

                                                     Defendants

                      STEEMIT, INC.

                                                    Third-Party
                                                    Defendant

                                      MOTION FOR APPROVAL OF INTERPLEADER BOND
                                           AND JUDGMENT OF INTERPLEADER

                            Defendant/Counter-Plaintiff Bittrex, Inc. (“Bittrex”), by and through undersigned

                     counsel, files this Motion for Approval of Interpleader Bond and Entry of Interpleader Judgment.

                     For the reasons set forth in the accompanying memorandum, Bittrex respectfully requests that

                     this Court enter an order: (1) approving Bittrex’s proposed Interpleader Bond, in lieu of

                     depositing cash or other property into the registry of the Court; (2) discharging Bittrex with

                     prejudice from all liability arising out of or in connection with the Disputed Steem and further

                     participation in this action; and (3) enjoining all persons and parties from instituting against
WOODS ROGERS PLC
ATTORNEYS AT LAW
                     Bittrex any action or further prosecuting any existing action in any state court or in any Court of
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                     the United States or in any other tribunal arising from, relating to, or concerning the Disputed

                     Steem.

                              DATED this 12th day of March, 2021.

                                                           Respectfully submitted,

                                                           WOODS ROGERS PLC

                                                                   J. Benjamin Rottenborn (VSB No. 84796)
                                                                   10 South Jefferson Street, Suite 1400
                                                                   Roanoke, Virginia 24011
                                                                   Phone: (540) 983-7540
                                                                   brottenborn@woodsrogers.com

                                                           AND

                                                           McNAUL EBEL NAWROT & HELGREN PLLC

                                                           By: s/ Claire Martirosian
                                                                  Gregory J. Hollon, Pro Hac Vice
                                                                  Claire Martirosian, Pro Hac Vice
                                                                  600 University Street, Suite 2700
                                                                  Seattle, Washington 98101
                                                                  Phone: (206) 467-1816
                                                                  ghollon@mcnaul.com
                                                                  cmartirosian@mcnaul.com

                                                           Counsel for Defendant Bittrex, Inc.




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                                                     CERTIFICATE OF SERVICE

                             I, the undersigned, hereby certify that a true and correct copy of the foregoing was served
                     via the CM/ECF system on the individuals listed below on March 12, 2021:

                            Michelle C. F. Derrico, Esq. (VSB 34037)
                            Richard L. Derrico, Esq. (VSB 33442)
                            Copenhaver, Ellett & Derrico
                            30 Franklin Road, SW, Suite 200
                            Roanoke, VA 24011
                            (540) 343-9349
                            (540) 342-9258 Facsimile
                            michelle@cecd.roacoxmail.com
                            rick@cecd.roacoxmail.com

                            Counsel for Plaintiffs


                                                           By: s/ Claire Martirosian
                                                                  Claire Martirosian, Pro Hac Vice
                                                                  Counsel for Defendant Bittrex, Inc.




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